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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Alamo Borden County 1, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1101 N. Little School Road
                                  Arlington, TX 76017
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Tarrant                                                         Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Borden County, Texas
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                             2111

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




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          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

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         Name

                           $50,001 - $100,000                       $10,000,001 - $50   million            $1,000,000,001 - $10 billion
                           $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                           $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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Debtor    Alamo Borden County 1, LLC                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 14, 2021
                                                  MM / DD / YYYY


                             X                                                                            Shu Rau
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X    /s/ Joshua N. Eppich                                                     Date October 14, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Joshua N. Eppich 24050567
                                 Printed name

                                 Bonds Ellis Eppich Schafer Jones LLP
                                 Firm name

                                 420 Throckmorton Street, Suite 1000
                                 Fort Worth, TX 76102
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     817-405-6900                  Email address      Joshua@bondsellis.com

                                 24050567 TX
                                 Bar number and State




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       WRITTEN CONSENT OF THE MEMBER AND BOARD OF MANAGERS
                  OF ALAMO BORDEN COUNTY 1, LLC
                           October 14, 2021

       The undersigned, Alamo Exploration & Production, LLC (the “Member”), being the sole
voting member of Alamo Borden County 1, LLC, a Texas limited liability company (“ABC 1” or
the “Company”), and the Board of Managers (the “Board”) of the Company, in lieu of a meeting,
do hereby take the following actions and adopt the following resolutions by written consent (this
“Consent”) pursuant to the organizational documents of the Company and the laws of the State
of Texas:

       (A)    Voluntary Petition for Chapter 11 Bankruptcy

               WHEREAS, the Member and the Board have evaluated the Company’s
       alternatives in connection with a possible restructuring and have reviewed and considered
       the recommendations of the Company’s professionals and advisors with respect to
       potential avenues for relief that are available to the Company, including the possibility of
       pursuing a restructuring of the Company’s business and assets under Chapter 11 of Title
       11 of the United States Code (the “Bankruptcy Code”), and have determined that the
       filing of a voluntary petition (the “Petition”) seeking relief pursuant to a case (the
       “Chapter 11 Case”) under the Bankruptcy Code in the United States Bankruptcy Court
       for the Northern District of Texas, Fort Worth Division (the “Bankruptcy Court”) is in
       the best interests of the Company;

              NOW, THEREFORE, IT IS RESOLVED, that the Company shall be, and
       hereby is, authorized, empowered and directed to: (a) file a Petition for relief under the
       Bankruptcy Code in the Bankruptcy Court and (b) perform any and all such acts as are
       reasonable, advisable, expedient, convenient, proper or necessary to effect any of the
       foregoing;

               IT IS FURTHER RESOLVED, that Shu Rau, Chief Executive Officer of the
       Company (the “Authorized Person”) is authorized, empowered and directed to:
       (a) execute, acknowledge, deliver and verify the Petition and all other ancillary
       documents, and cause the Petition to be filed with the Bankruptcy Court and make or
       cause to be made prior to execution therefore any modifications to the Petition or
       ancillary documents as the Authorized Person, in his discretion deems necessary,
       desirable or appropriate to carry out the intent and accomplish the purposes of these
       resolutions; (b) execute, acknowledge, deliver and verify and file or cause to be filed all
       other petitions, schedules, statements, lists, motions, applications, including any plan of
       reorganization or motion to sell assets, and other papers and documents necessary or
       desirable in connection with the foregoing; (c) execute, acknowledge, deliver and verify
       any and all other documents necessary, desirable or appropriate in connection therewith
       and to administer the Company’s Chapter 11 Case in such form or forms as the
       Authorized Person may deem necessary or advisable in order to effectuate the purpose
       and intent of the foregoing resolutions; and (d) all actions heretofore taken by the
       Authorized Person in connection with the subject of the foregoing resolutions be, and
       hereby are, approved, ratified and confirmed in all respects as the acts and deeds of the
       Company;
                                                 1
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             IT IS FURTHER RESOLVED, that the law firm of Bonds Ellis Eppich Schafer
      Jones LLP shall be, and hereby is, authorized, empowered and directed to represent the
      Company as a debtor and/or debtor-in-possession in connection with any case
      commenced by or against it under the Bankruptcy Code, and the Authorized Person is
      authorized and directed to retain on behalf of the Company, upon such terms and
      conditions as the Authorized Person shall approve, such law firm to represent the
      Company in connection with the Chapter 11 Case;

              IT IS FURTHER RESOLVED, that the Authorized Person is authorized,
      directed and empowered to retain such other attorneys, financial advisors, and
      accountants as the Authorized Person shall deem appropriate in his judgment; and

             IT IS FURTHER RESOLVED, that the Authorized Person, on behalf of the
      Company shall be, and hereby is, authorized, empowered and directed to take or cause to
      be taken any and all such further action, to execute and deliver any and all such further
      instruments and documents and to pay all such fees and expenses, as the Authorized
      Person so acting shall deem appropriate in its judgment to fully carry out the intent and
      accomplish the purposes of these resolutions.

      (B)    Debtor-in-Possession Financing

              WHEREAS, in the event the Company determines it is in its best interests to
      enter into certain credit agreements to provide debtor-in-possession credit facilities and
      any financing agreements necessary to carry out the intent and accomplish the purposes
      of these resolutions, the Authorized Person is entitled, empowered, and authorized to
      enter into such agreements;

               WHEREAS, the Company anticipates a lender or lenders will require the
      Company to enter into certain documents related to any debtor-in-possession credit
      facilities;

              NOW, THEREFORE, IT IS RESOLVED, that the Authorized Person is
      authorized and directed, in the name and on behalf of the Company, to negotiate the
      form, terms and provisions of, and to execute and deliver credit agreements relating to
      debtor-in-possession credit facilities as the Authorized Person in his sole and absolute
      discretion approves, such approval to be conclusively evidenced by his execution and
      delivery of such documents relating to debtor-in-possession credit facilities;

              IT IS FURTHER RESOLVED, that the Authorized Person is authorized and
      empowered to negotiate the form, terms and provisions of, and to execute and deliver for
      and in the name and on behalf of the Company any and all security documents (including
      without limitation Uniform Commercial Code financing statements) and any other
      notices, certificates, instruments, documents, and writing and to do and perform or cause
      to be done and performed all such other acts as the Member and the Board shall from
      time to time deem necessary, advisable or appropriate in order to (a) consummate debtor-
      in-possession credit facilities; (b) give or undertake security, assurances or obligations to
      lenders in connection with a debtor-in-possession credit facilities; and/or (c) to perform

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      and comply with all covenants and agreements and meet and satisfy all conditions and
      obligations of the Company set forth in any credit agreements or any of the instruments,
      documents and agreements executed or delivered by the Company, including as may be
      required by any credit agreements and any other documents requested by a lender in
      order to effect the transactions contemplated by such credit agreements; and

              IT IS FURTHER RESOLVED, that the Authorized Person is authorized to
      negotiate, execute and deliver any amendments, modification, or supplements to, any
      reaffirmations or, and any waivers or consents under, any credit agreement to which the
      Company is a party (including without limitation any extensions for any period, any
      increases and any restructuring, refinancing or rearrangement of obligations therewith) in
      the name of the Company and to take all actions in accordance therewith that the Member
      and the Board deem necessary or appropriate;

      (C)    Further Action

              IT IS RESOLVED, that in addition to and without limiting the foregoing, the
      Authorized Person be, and hereby is, authorized, empowered and directed to take, or
      cause to be taken, such further action and to execute and deliver, or cause to be executed
      and delivered, for and in the name and on behalf of the Company, all such further
      instruments and documents as the Authorized Person, with the advice of counsel, may
      deem to be necessary or advisable in order to effect the purpose and intent of the
      foregoing resolutions and to be in the best interest of the Company (as conclusively
      evidenced by the taking of such action or the execution and delivery of such instruments
      or documents, as the case may be, by or under the direction of the Authorized Person),
      and all action heretofore taken by the Authorized Person in connection with the subject of
      the foregoing resolutions be, and it hereby is, approved, ratified and confirmed in all
      respects as the act and deed of the Company.




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